Case 5:22-cv-00687-JWH-kk Document 19 Filed 06/02/22 Page 1 of 3 Page ID #:80




  1
      STEPHEN M. LOBBIN
      sml@smlavvocati.com
  2   SML AVVOCATI P.C.
  3
      888 Prospect Street, Suite 200
      San Diego, California 92037
  4   (949) 636-1391 (Phone)
  5
      Attorney(s) for Display Technologies, LLC
  6

  7
                      IN THE UNITED STATES DISTRICT COURT
  8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
  9

 10
       DISPLAY TECHNOLOGIES, LLC,
                                                     CASE NO.: 5:22-cv-00687-JWH-KK
 11                       Plaintiff,
                                                     PATENT CASE
 12    v.
 13
       BIONIME USA CORPORATION,
 14                                                  JOINT STIPULATION OF
                          Defendant.                 DISMISSAL
 15

 16

 17
            Plaintiff Display Technologies, LLC, and Defendant Bionime USA Corporation,
 18
      by their respective undersigned counsel, hereby STIPULATE and AGREE as follows:
 19
            1.     All claims asserted by the Plaintiff in this Action are dismissed with
 20
      prejudice and all counter-claims asserted by the Defendant in this Action are dismissed
 21
      without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);
 22
            2.     Each party shall bear its own costs and attorneys’ fees with respect to the
 23
      matters dismissed hereby;
 24
            This Stipulation and Order shall finally resolve the Action between the parties.
 25

 26

 27

 28

                                                  1
                                   JOINT STIPULATION OF DISMISSAL
Case 5:22-cv-00687-JWH-kk Document 19 Filed 06/02/22 Page 2 of 3 Page ID #:81




  1   Dated: June 2, 2022               Respectfully submitted,
  2
                                        /s/Stephen M. Lobbin
  3                                     Stephen M. Lobbin
  4
                                        sml@smlavvocati.com
                                        SML AVVOCATI P.C.
  5                                     888 Prospect Street, Suite 200
  6                                     San Diego, California 92037
                                        (949) 636-1391 (Phone)
  7

  8                                     Attorney(s) for Plaintiff

  9                                     /s/Rodeen Talebi
 10                                     Rodeen Talebi (CA SBN 320392)
                                        FISH & RICHARDSON P.C.
 11                                     633 West Fifth Street, 26th Floor
 12                                     Los Angeles, CA 90071
                                        Telephone: (213) 533-4240
 13                                     Facsimile: (858) 678-5099
 14                                     Email: talebi@fr.com
 15                                     Neil J. McNabnay (Pro Hac Vice)
 16
                                        mcnabnay@fr.com
                                        Ricardo J. Bonilla (Pro Hac Vice)
 17                                     rbonilla@fr.com
 18
                                        Aaron P. Pirouznia (Pro Hac Vice)
                                        pirouznia@fr.com
 19                                     FISH & RICHARDSON P.C.
 20                                     1717 Main Street, Suite 5000
                                        Dallas, TX 75201
 21                                     Telephone: (214) 747-5070
 22                                     Facsimile: (214) 747-2091

 23                                     Attorney(s) for Defendant
 24

 25

 26

 27

 28

                                             2
                              JOINT STIPULATION OF DISMISSAL
Case 5:22-cv-00687-JWH-kk Document 19 Filed 06/02/22 Page 3 of 3 Page ID #:82




  1
                                CERTIFICATE OF SERVICE

  2          I hereby certify that on June 2, 2022, I electronically transmitted the foregoing
  3
      document using the CM/ECF system for filing, which will transmit the document
      electronically to all registered participants as identified on the Notice of Electronic
  4   Filing, and paper copies have been served on those indicated as non-registered
  5   participants.
                                              /s/Stephen M. Lobbin
  6                                           Stephen M. Lobbin
  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                                 3
                                  JOINT STIPULATION OF DISMISSAL
